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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


 KIERRA THOMAS, ET AL.                                              CIVIL ACTION

 VERSUS                                                               NO. 18-4373

 RANDALL CHAMBERS, ET AL.                                      SECTION “R” (4)

                          ORDER AND REASONS

      Before the Court is (1) plaintiffs’ motion in limine to exclude the

testimony of Dr. Torrence Welch, defendants’ accident reconstruction and

biomechanical engineering expert; (2) defendants’ motion in limine to

exclude the testimony of James Pittman, plaintiffs’ accident reconstruction

expert; and (3) defendant God’s Way Trucking, LLC’s motion for partial

summary judgment on plaintiffs’ direct negligence claim. The Court finds

that (1) Dr. Welch’s opinions, except for his specific medical causation

opinions, are reliable and admissible at trial; (2) Pittman’s expert opinions

are inadmissible because they do not require any specialized knowledge; and

(3) God’s Way is entitled to summary judgment on plaintiffs’ direct

negligence claims because God’s Way has stipulated that it is vicariously

liable for the alleged accident at the center of this litigation.
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I.    BACKGROUND

      This case arises out of a motor vehicle accident in Orleans Parish. 1 On

April 24, 2017, plaintiff Kierra Thomas was allegedly driving an automobile

westbound on Interstate 10 in the right-hand lane with plaintiffs Antoine

Clark and Shirley Harris as passengers.2 Defendant Randall Chambers was

allegedly driving a tractor-trailer next to plaintiffs in the middle lane.3

Chambers was driving the tractor-trailer in the course of his employment

with defendant God’s Way Trucking, LLC. 4 Plaintiffs allege that Thomas was

driving “straight in a cautious fashion” when Chambers negligently

attempted to move into the right-hand lane without “keep[ing] a proper

lookout.” 5 Chambers’s vehicle allegedly struck plaintiffs’ vehicle, causing all

three plaintiffs to be “violently jolted.” 6 All three plaintiffs allege that the

accident caused serious injuries to their necks and backs.7 They have each

received medical treatment for injuries to their cervical and lumbar spines. 8




1     R. Doc. 1-4.
2     Id. at 3 ¶¶ 7-8.
3     Id. ¶ 9.
4     Id. at 2 ¶ 3; R. Doc. 36-4 at 3.
5     R. Doc. 1-4 at 3 ¶ 10.
6     Id. ¶¶ 10-11.
7     Id. at 5 ¶ 16; 6 ¶¶ 19 & 22.
8     See R. Doc. 88-3 at 17-21.

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      On April 6, 2018, plaintiffs filed suit against Chambers, God’s Way, and

defendant Canal Insurance Company. 9 Canal Insurance allegedly insured

the vehicle Chambers drove on the day of the collision. 10 Plaintiffs allege that

Chambers’s negligence caused their injuries, and that God’s Way is liable for

their damages as Chambers’s employer under the doctrine of respondent

superior. 11 Plaintiffs also allege causes of action for negligent entrustment

and negligent hiring, training, and supervising against God’s Way. 12

Defendants removed the action to federal court on April 27, 2018, asserting

diversity jurisdiction pursuant to 28 U.S.C. § 1332. 13 Trial is scheduled to

commence on April 29, 2019. 14

      In advance of trial, plaintiffs move to exclude defendants’ accident

reconstruction and biomechanical engineering expert, Dr. Torrence Welch.15

Defendants move to exclude plaintiffs’ accident reconstruction expert, James

Pittman. 16   God’s Way also moves for partial summary judgment on

plaintiffs’ direct negligence claims. 17


9     Id. at 2 ¶ 3.
10    Id.
11    Id. at 4 ¶¶ 13-14.
12    Id. ¶ 14.
13    R. Doc. 1.
14    R. Doc. 9.
15    R. Doc. 55.
16    R. Doc. 58.
17    R. Doc. 36.
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II.    LEGAL STANDARD

       A.    Admissibility of Expert Testimony

       A district court has considerable discretion to admit or exclude expert

testimony under Federal Rule of Evidence 702, which governs the

admissibility of expert testimony. See Gen. Elec. Co. v. Joiner, 522 U.S. 136,

138-39 (1997); Seatrax, Inc. v. Sonbeck Int’l, Inc., 200 F.3d 358, 371 (5th Cir.

2000).      Rule 702 provides that a witness “qualified as an expert by

knowledge, skill, experience, training, or education” may provide opinion

testimony when “scientific, technical, or other specialized knowledge will

assist the trier of fact to understand the evidence or to determine a fact in

issue.” Fed. R. Evid. 702. To be admissible, Rule 702 requires that (1) the

testimony be based on sufficient facts or data, (2) the testimony be the

product of reliable principles and methods, and (3) the witness apply the

principles and methods reliably to the facts of the case. Id.

       In Daubert v. Merrell Dow Pharmaceuticals, Incorporated, the

Supreme Court held that Rule 702 requires the district court to act as a

gatekeeper to ensure that “any and all scientific testimony or evidence

admitted is not only relevant, but reliable.” 509 U.S. 579, 589 (1993); see

also Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147-48 (1999) (clarifying

that the Daubert gatekeeping obligation applies to all forms of expert


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testimony). The Court’s gatekeeping function involves a two-part inquiry.

First, the Court must determine whether the expert testimony is reliable.

The party offering the testimony has the burden to establish reliability by a

preponderance of the evidence. See Moore v. Ashland Chem. Inc., 151 F.3d

269, 276 (5th Cir. 1998). The Court must assess whether the reasoning or

methodology underlying the expert’s testimony is valid. See Daubert, 509

U.S. at 590. The aim is to exclude expert testimony based merely on

subjective belief or unsupported speculation. See id. The Court’s inquiry

into the reliability of expert testimony is flexible and necessarily fact-specific.

See Seatrax, Inc., 200 F.3d at 372.

      Second, the Court must determine whether the expert’s reasoning or

methodology “fits” the facts of the case and whether it will assist the trier of

fact to understand the evidence. See Daubert, 509 U.S. at 591. This is

primarily an inquiry into the relevance of the expert testimony. See id.; see

also Bocanegra v. Vicmar Servs., Inc., 320 F.3d 581, 584 (5th Cir. 2003).

Expert testimony is unnecessary if the court finds that “the jury could adeptly

assess [the] situation using only their common experience and knowledge.”

Peters v. Five Star Marine Serv., 898 F.2d 448, 450 (5th Cir. 1990).

      But a court’s role as a gatekeeper does not replace the adversary

system. Daubert, 509 U.S. at 596. “Vigorous cross-examination,


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presentation of contrary evidence, and careful instruction on the burden of

proof are the traditional and appropriate means of attacking shaky but

admissible evidence.” Id. “As a general rule, questions relating to the bases

and sources of an expert’s opinion affect the weight to be assigned that

opinion rather than its admissibility and should be left for the jury’s

consideration.” United States v. 14.38 Acres of Land, 80 F.3d 1074, 1077

(5th Cir. 1996) (quoting Viterbo v. Dow Chem. Co., 826 F.2d 420, 422 (5th

Cir. 1987)).

      B.       Summary Judgment

      Summary judgment is warranted when “the movant shows that there

is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a); see also Celotex Corp. v.

Catrett, 477 U.S. 317, 322-23 (1986); Little v. Liquid Air Corp., 37 F.3d 1069,

1075 (5th Cir. 1994). When assessing whether a dispute as to any material

fact exists, the Court considers “all of the evidence in the record but refrain[s]

from making credibility determinations or weighing the evidence.” Delta &

Pine Land Co. v. Nationwide Agribusiness Ins. Co., 530 F.3d 395, 398-99

(5th Cir. 2008).     All reasonable inferences are drawn in favor of the

nonmoving party, but “unsupported allegations or affidavits setting forth

‘ultimate or conclusory facts and conclusions of law’ are insufficient to either


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support or defeat a motion for summary judgment.” Galindo v. Precision

Am. Corp., 754 F.2d 1212, 1216 (5th Cir. 1985); see also Little, 37 F.3d at

1075. “No genuine dispute of fact exists if the record taken as a whole could

not lead a rational trier of fact to find for the nonmoving party.” EEOC v.

Simbaki, Ltd., 767 F.3d 475, 481 (5th Cir. 2014).

       If the dispositive issue is one on which the moving party will bear the

burden of proof at trial, the moving party “must come forward with evidence

which would entitle it to a directed verdict if the evidence went

uncontroverted at trial.” Int’l Shortstop, Inc. v. Rally’s, Inc., 939 F.2d 1257,

1264-65 (5th Cir. 1991) (internal citation omitted). The nonmoving party can

then defeat the motion by either countering with evidence sufficient to

demonstrate the existence of a genuine dispute of material fact, or by

“showing that the moving party’s evidence is so sheer that it may not

persuade the reasonable fact-finder to return a verdict in favor of the moving

party.” Id. at 1265.

       If the dispositive issue is one on which the nonmoving party will bear

the burden of proof at trial, the moving party may satisfy its burden by

pointing out that the evidence in the record is insufficient with respect to an

essential element of the nonmoving party’s claim. See Celotex, 477 U.S. at

325.    The burden then shifts to the nonmoving party, who must, by


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submitting or referring to evidence, set out specific facts showing that a

genuine issue exists. See id. at 324. The nonmovant may not rest upon the

pleadings, but must identify specific facts that establish a genuine issue for

trial. See, e.g., id.; Little, 37 F.3d at 1075 (“Rule 56 mandates the entry of

summary judgment, after adequate time for discovery and upon motion,

against a party who fails to make a showing sufficient to establish the

existence of an element essential to that party’s case, and on which that party

will bear the burden of proof at trial.” (quoting Celotex, 477 U.S. at 322)).



III. DISCUSSION

      A.    Plaintiffs’ Motion to Exclude Dr. Torrence Welch

      Plaintiffs seek to exclude the expert opinion of Dr. Torrence Welch.18

Dr. Welch presents himself as an expert in both biomechanical engineering

and vehicle accident reconstruction.19 He opines in his report that the

collision between Chambers and plaintiffs was a “sideswipe” in which “little

to no change in speed occurs for either vehicle.” 20 He further opines that in

this type of collision, the plaintiffs’ bodies “would have experienced very




18    R. Doc. 55.
19    R. Doc. 88-3 at 73.
20    Id. at 16.

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minor shaking and vibration motions, characterized by minimal lateral

bending of their cervical spines, well within the normal range of motion.”21

Dr. Welch concludes that because this type of accident results in movement

that is within the normal range of motion, it does not typically create the

“mechanism” for the cervical and lumbar spinal injuries that plaintiffs allege

they have suffered as a result of the collision. 22

      Plaintiff seeks to exclude Dr. Welch’s opinion because (1) he is biased

and unqualified to render these opinions, (2) his methodology is unreliable,

and (3) his opinion is irrelevant.23 The Court finds that Dr. Welch’s report is

admissible to the extent that he opines about the type of collision Chambers

and plaintiffs experienced, the force of impact that the human body would

typically sustain in that type of collision, and how a hypothetical person’s

body would typically respond to that force of impact. But because Dr. Welch

is not qualified to render a medical opinion, he is excluded from offering at

trial any opinion about plaintiffs’ specific injuries in this case, and whether

their injuries were caused by the collision.




21    Id. at 4.
22    Id.
23    R. Doc. 55-1.
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             1.     Qualifications

       Dr. Welch is qualified to offer both a biomechanical engineering

opinion and an opinion regarding the type of collision Chambers and

plaintiffs experienced. He holds a PhD in biomedical engineering, which was

awarded jointly by the Georgia Tech School of Engineering and the Emory

University School of Medicine. 24     He also holds an Accredited Traffic

Reconstructionist License, and is a member of the Society of Automotive

Engineers.25      Because an expert need only possess a higher degree of

knowledge, skill, experience, training, or education than an ordinary person

in the subject matter of his testimony, the Court finds that Dr. Welch is

qualified to serve as an expert in biomechanical engineering and accident

reconstruction. See Burgo v. Davis, No. 15-2430, 2016 WL 3257589, at *1,

3-4 (E.D. La. June 14, 2016) (permitting testimony regarding accident

reconstruction from an expert who was registered with the “Accreditation

Commission for Traffic Accident Reconstruction”); Sandifer v. Hoyt

Archery, Inc., No. 12-322, 2015 WL 4429189, at *5 (M.D. La. July 20, 2015)

(biomechanical engineering expert who held a bachelor’s and a master’s




24     R. Doc. 88-3 at 73.
25     Id.
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degree in mechanical engineering, and a PhD in engineering mechanics and

biomechanics, was qualified to testify at trial).

      But Dr. Welch is not qualified to offer medical causation opinions at

trial. Federal courts have found that biomechanical engineering experts like

Dr. Welch are qualified to offer opinions on “what injury causation forces are

in general” and “how a hypothetical person’s body will respond to those

forces,” but are “not qualified to render medical opinions regarding the

precise cause of a specific injury.” Laski v. Bellwood, 215 F.3d 1326, 2000

WL 712502, at *3 (6th Cir. May 25, 2000); see also Collett v. GEICO Cas. Co.,

No. 16-15908, 2017 WL 4553525, at *1 (E.D. La. Oct. 11, 2017). Dr. Welch is

not certified in any medical specialty. Nor does he hold a medical degree.

He therefore cannot offer an opinion on whether the estimated forces

plaintiffs experienced during the collision in fact caused their injuries. He

may testify only to “the amount of force he believes was generated by the

accident and the observed effect of such force on a hypothetical human body

in a comparable accident.” Collett, 2017 WL 4553525, at *1.

      For instance, Dr. Welch cannot opine at trial—as he does in his report—

that the “[t]he dynamics of the subject vehicle interaction were insufficient

to result in sprain/strain injuries for Ms. Thomas, Mr. Clark, and Ms.




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Harris.”26 Nor can he testify that the accident “provided no impetus for the

structural exacerbation, aggravation, or progression of the pre-existing

degenerative or congenital conditions present with the spines of [each

plaintiff].” 27 These are the types of specific medical causation opinions that

are outside of his expertise.

             2.   Reliability

       Dr. Welch’s accident reconstruction opinion, and his opinion regarding

the forces plaintiffs would experience in such a collision and how the human

body typically responds to such forces, are reliable and therefore admissible.

       Dr. Welch’s principal accident reconstruction opinion is that the

collision was a sideswipe that resulted in no change in speed for either

vehicle.28 To form his opinion, Dr. Welch primarily relies upon (1) the

parties’ testimony regarding their speed at the time of collision, (2) the

parties’ testimony regarding the movement of the car upon impact, and (3)

the visible damage to plaintiffs’ car. 29     In addition, Dr. Welch cites

information from the New Orleans Police Department (NOPD) incident

report and 911 calls, bodycam footage from the NOPD officer who arrived at


26     Id. at 25 (emphasis added).
27     Id. at 5.
28     Id. at 16.
29     Id. at 14-17.

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the scene, and published data on the weight and size of the two vehicles.30

According to Dr. Welch, the evidence he reviewed suggests that the collision

was a sideswipe because “it would have required over 2,400 pounds of lateral

force to overcome friction and move [plaintiffs’ vehicle] from its original

trajectory.”31 But as Dr. Welch notes, if that amount of force had been

exerted on plaintiffs’ vehicle, the side panels of the vehicle would have

“exhibited far more substantial damage than was present.” 32 Furthermore,

no plaintiff reported that their vehicle crossed into a different lane as a result

of the collision, or that they lost control of the vehicle.33

       First, Dr. Welch’s opinion satisfies Rule 702’s requirement that an

opinion be “based on sufficient facts or data,” even though he was not able to

inspect the vehicles directly and did not visit the accident scene. Fed. R. Evid.

702(b); See Burgo, 2016 WL 3257589, at *1, 4 (accident reconstruction

expert’s opinion reliable when he relied upon photographic evidence of the

accident, but did not personally inspect the vehicles); cf. Wilson v. Woods,

163 F.3d 935, 937 (5th Cir. 1999) (accident reconstruction expert’s opinion

not admissible when he did not collect any information from the accident




30     Id. at 26-28.
31     Id. at 16.
32     Id.
33     Id.
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scene). Second, the methodology Dr. Welch uses to draw his conclusion has

been found to be reliable by other federal courts assessing the opinions of

accident reconstruction experts. See, e.g., Graham v. Hamilton, 872 F.

Supp. 2d 529, 538-39 (W.D. La. 2012) (expert’s methodology reliable when

he detailed the impacts the plaintiff’s car sustained based on a review of the

police reports, eyewitness accounts, and photographs of the accident scene,

and then used his expertise to estimate the vehicle’s likely change in speed

as a result of the collision). Dr. Welch sufficiently articulates how the

evidence before him informed his conclusion that the collision was a

sideswipe that resulted in no change in speed. 34

       Dr. Welch’s biomechanical opinion regarding the forces likely exerted

on plaintiffs’ bodies in this sideswipe collision, and the human body’s

response to those forces in a hypothetical scenario, is also reliable. First, he

applies studies showing the force of impact in sideswipe collisions of this

nature.35 He explains in an affidavit that the peer-reviewed and published

studies he relies upon show that sideswipe collisions involve an acceleration

force of less than 1.5g, regardless of the sizes or weights of the vehicles

involved.36    He further explains that “the general consensus of all


34     See id. at 14-17.
35     Id. at 22.
36     R. Doc. 88-5 at 8.
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experimental research on sideswipe accidents is that a sideswipe accident

will result in mainly shaking and vibration motions of the vehicles . . . but not

overall change in speed.”37 Dr. Welch then applies studies showing that this

amount of force—1.5g or less—is comparable to the “motions, accelerations,

and loads experienced during daily activities.”38 It is from these studies that

Dr. Welch concludes that the accident did not create the “mechanism” for

cervical and lumbar spinal injuries in a hypothetical person in a comparable

accident.39

       Dr. Welch represents in his affidavit that the studies he relies upon to

reach his biomechanical opinion have been published in peer-reviewed

journals and are widely accepted among the scientific, engineering, and

medical communities. 40 Other courts have recognized that the type of

biomechanical analysis Dr. Welch employs is well-established and

sufficiently reliable for finding the amount of force generated by an accident,

and the observed effect of such force on a hypothetical human body. See

Laski v. Bellwood, 2000 WL 712502, at *3; Herrera v. Werner Enters., Inc.,

No. 14-385, 2015 WL 12670443, at *4 (W.D. Tex. Sept. 28, 2015) (finding




37     Id. at 8-9.
38     R. Doc. 88-3 at 22.
39     Id. at 4.
40     R. Doc. 88-5 at 10-11.
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that expert opinion on the forces likely exerted on the plaintiff’s body in a

collision properly relied upon biomechanical engineering studies that were

generally accepted in the scientific community). Dr. Welch’s biomechanical

opinion is therefore reliable.

             3.    Relevance

       Lastly, Dr. Welch’s opinion is clearly relevant to the issues in this case.

Plaintiffs object to Dr. Welch’s report because he does not address “how the

accident occurred or which party . . . is at fault.” 41 Plaintiffs are correct that

Dr. Welch does not opine on those matters, but that does not mean his

testimony is irrelevant. The extent of plaintiffs’ damages, and whether all of

their purported injuries were caused by the alleged collision, are relevant

issues at trial. While Dr. Welch is not qualified to offer a specific medical

causation opinion, his opinion on the force of impact likely experienced by

plaintiffs, and how the human body typically responds to that force of

impact, will assist the jury in evaluating these issues.

       B.    Defendants’ Motion to Exclude James Pittman

       Defendants move to exclude James Pittman, plaintiffs’ accident

reconstruction expert. 42 Pittman reviewed post-accident photographs of the




41     R. Doc. 55-1 at 15.
42     R. Doc. 58.
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two vehicles, the police report, and plaintiffs’ deposition testimony. 43 From

this review, he concludes the following:

       The physical evidence supports a collision occurring between the
       [plaintiffs’ vehicle] and the right rear of [Chambers’s vehicle].
       Testimony from [plaintiffs] support the truck changing lanes into
       the lane they were lawfully occupying. The contact points
       described by them w[ere] consistent with the damage found and
       contact points observed in the photographs. . . . The movement
       described by the occupants moving left to right is consistent with
       this type of crash. In that a force would be applied moving left to
       right and the occupants would initially move in the direction of
       the force (left). 44
This opinion is not an admissible expert opinion because it requires no

expertise and relates to issues that are within the common knowledge of a

lay juror.

       According to the Advisory Committee Notes to Rule 702, “whether the

situation is a proper one for the use of expert testimony is to be determined

on the basis of assisting the trier.” The Fifth Circuit has expressly recognized

that expert testimony should be excluded if the court finds that “the jury

could adeptly assess [the] situation using only their common experience and

knowledge.” Peters v. Five Star Marine Serv., 898 F.2d 448, 450 (5th Cir.

1990). In Peters, the plaintiff was injured while unloading machinery on an

offshore supply vessel.      The Court found that expert testimony was



43     R. Doc. 58-3.
44     Id. at 10.
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unnecessary for the jury to assess whether it was reasonable for the plaintiff’s

employer to instruct employees to move equipment manually during heavy

seas, whether cargo was improperly stowed, and whether diesel fuel made

the deck of the boat slippery. Id. at 449-50; see also Thomas v. Global

Explorer, LLC, No. 02-1060, 2003 WL 943645, at *2 (E.D. La. Mar. 3, 2003)

(excluding expert testimony as to whether the position of a rope on a vessel

was a potential safety hazard, because the opinion did not require “expertise

of any kind”).

       Here, Pittman’s opinion that a collision occurred is based on his

finding that the visible damage to the right rear tire of Chambers’s vehicle,

and the damage to the front left side of plaintiffs’ vehicle, is consistent with

plaintiffs’ testimony.45 Unlike Dr. Welch, Pittman does not employ any type

of specialized knowledge, and he did no scientific or specialized analysis to

come to a conclusion about the type of collision that the parties

experienced.46    He cites no published references or data and did no

calculations.    Pittman simply concludes that the evidence “supports a




45    Id. at 4-5.
46    See R. Doc. 88-3 at 15-16 (Dr. Welch explaining that the collision was
a sideswipe because based on the extent of the damage, not enough force was
exerted on plaintiffs’ vehicle to move the vehicle “from its original
trajectory”).

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collision occurring,” because the “contact points described by [plaintiffs] was

consistent with the damage” in the photographs of the vehicles.47 A lay juror

would be able to look at pictures and listen to witnesses to draw this same

conclusion. A lay juror is also capable of concluding that plaintiffs’ testimony

regarding their movement in the car upon impact is consistent with the type

of accident plaintiffs allege took place. Thus, because no expertise is needed

to arrive at Pittman’s conclusions, his opinion will not assist the jury resolve

any issue. He therefore may not offer expert testimony at trial. See Peters,

898 F.2d at 450.

       C.    Motion for Partial Summary Judgment

       God’s Way moves to dismiss plaintiffs’ direct claims for negligent

entrustment and negligent hiring, training, and supervising. 48 Plaintiffs

have not filed a brief in opposition to this motion. God’s Way argues that

under Louisiana law, a plaintiff cannot maintain both a vicarious liability

claim and a direct negligence claim against an employer for the negligence of

its employee when the employer admits that the employee was within the

course and scope of his employment at the time of the alleged tort. 49 Because

state law provides the rule of decision for plaintiffs’ claims, the Court must


47     R. Doc. 58-3 at 10.
48     R. Doc. 36.
49     See R. Doc. 36-1 at 4.
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apply the law as interpreted by the state’s highest court. See F.D.I.C. v.

Abraham, 137 F.3d 264, 267-68 (5th Cir. 1998); Samuels v. Doctors Hosp.,

Inc., 588 F.2d 485, 488 (5th Cir. 1979). If there is no ruling by the state’s

highest court on the specific question, the Court must make an Erie guess as

to how the state’s highest court would decide the issue. Martin K. Eby

Constr. Co. v. Dall. Area Rapid Transit, 369 F.3d 464, 468 (5th Cir. 2004).

      Several federal courts in Louisiana have recently determined that when

it is undisputed that an employer is vicariously liable for the negligent acts

of its employee, the plaintiff cannot also maintain a direct negligence claim

against the employer. See Dennis v. Collins, No. 15-2410, 2016 WL 6637973

(W.D. La. Nov. 9, 2016); Wright v. Nat’l Interstate Ins. Co., No. 16-16214,

2017 WL 5157537 (E.D. La. Nov. 7, 2017); Franco v. Mabe Trucking Co., Inc.,

17-871, 2018 WL 6072016 (W.D. La. Nov. 20, 2018); Vaughn v. Taylor, No.

18-1447, 2019 WL 171697 (W.D. La. Jan. 10, 2019).

      Those decisions are grounded primarily in the Louisiana Third Circuit

Court of Appeals’ decision in Libersat v. J & K Trucking, Inc, 772 So. 2d 173

(La. App. 3 Cir. 2000). There, James Libersat died when the defendant’s

employee struck his vehicle. Id. at 174. Libersat’s wife and daughters

brought an action against the defendant, alleging it was vicariously liable for

the driver’s negligence, and directly negligent for not exercising reasonable


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care in hiring and training him. There was no dispute that the driver was

operating the vehicle within the course and scope of his employment, and

that the defendant was vicariously liable for his alleged negligence.

      At trial, the court did not instruct the jury that the defendant had a duty

to exercise care in hiring and training its employee. Id. at 179. The appellate

court held that the trial court did not abuse its discretion in withholding this

jury instruction. Id. The court reasoned that if the driver breached a duty to

the plaintiffs, then the defendant would be vicariously liable for his tort. Id.

But if the driver did not breach his duty, “then no degree of negligence on the

part of [the defendant] in hiring [the driver] would make [the defendant]

liable to the [plaintiffs].” Id. In other words, there was no question that the

defendant could be held liable for the driver’s alleged negligence. The only

disputed question was whether the driver was in fact negligent. Therefore,

including a jury instruction for whether liability could attach to the

defendant because of the defendant’s purported negligence in hiring the

driver was superfluous.      In ruling that the trial court did not err in

withholding this instruction, the court noted that the “trial judge has the

responsibility of reducing the possibility of confusing the jury, and he may

exercise the duty to decide what law is applicable.” Id.




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       Here, in response to plaintiffs’ Requests for Admissions, God’s Way

admitted that “at the time of the subject collision[,] Randall Chambers was

acting within the course and scope of his employment.” 50 God’s Way’s

admission “conclusively establish[es]” that God’s Way is vicariously liable for

Chambers’s alleged negligence. Fed. R. Civ. P. 36(b) (“A matter admitted [in

response to a Rule 36 Request for Admission] is conclusively established

unless the court, on motion, permits the admission to be withdrawn or

amended.”).     Thus, there is no dispute that if a jury were to find that

Chambers negligently caused the collision and defendants’ resulting

damages, God’s Way can be held liable.       Libersat indicates that in such a

situation, a court does not err by removing from the jury’s consideration an

alternative means for finding the employer liable for its employee’s

negligence. 772 So. 2d at 179. The Court cannot locate any decision from the

Louisiana Supreme Court addressing this specific question.          The Court

therefore relies on Libersat for its Erie guess on how the state’s highest court

would decide this issue, and finds that summary judgment for God’s Way on

plaintiffs’ direct negligence claims is proper.

       There are also considerable prudential reasons for granting God’s

Way’s motion. Because God’s Way’s liability for Chambers’s negligence is


50     R. Doc. 36-4 at 3.
                                       22
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not disputed, evidence at trial related to God’s Way’s alleged negligence in

hiring or training Chambers would be superfluous and needlessly time-

consuming. Any such evidence may confuse the jury about the pertinent

issues at trial, and could inappropriately impact an award of damages. The

Supreme Court of Missouri has considered this specific question, and

likewise concluded:

     If all of the theories for attaching liability to one person for the
     negligence of another were recognized and all pleaded in one
     case where the imputation of negligence is admitted, the
     evidence laboriously submitted to establish other theories serves
     no real purpose. The energy and time of courts and litigants is
     unnecessarily expended. In addition, potentially inflammatory
     evidence comes into the record which is irrelevant to any
     contested issue in the case.
McHaffie By & Through McHaffie v. Bunch, 891 S.W.2d 822, 826 (Mo.

1995).

     In all, the Court finds that plaintiffs may not maintain both a direct

negligence claim against God’s Way and a claim that God’s Way is vicariously

liable for Chambers’s negligence, because God’s Way readily admits that it is

vicariously liable for Chambers’s alleged negligence. See Dennis v. Collins,

No. 15-2410, 2016 WL 6637973 (W.D. La. Nov. 9, 2016); Wright v. Nat’l

Interstate Ins. Co., No. 16-16214, 2017 WL 5157537 (E.D. La. Nov. 7, 2017);

Franco v. Mabe Trucking Co., Inc., 17-871, 2018 WL 6072016 (W.D. La. Nov.



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20, 2018); Vaughn v. Taylor, No. 18-1447, 2019 WL 171697 (W.D. La. Jan.

10, 2019). God’s Way’s motion is therefore granted.



IV.   CONCLUSION

      For the foregoing reasons, defendants’ motion to exclude the expert

testimony of James Pittman is GRANTED. God’s Way’s motion for partial

summary judgment on plaintiffs’ claims for negligent entrustment and

negligent hiring, training, and supervising is also GRANTED. Those claims

are DISMISSED WITH PREJUDICE. Plaintiffs’ motion to exclude the expert

testimony of Dr. Torrence Welch is DENIED IN PART and GRANTED IN

PART. Dr. Welch cannot offer at trial any medical causation opinion.



                                        17th day of April, 2019.
          New Orleans, Louisiana, this _____


                    _____________________
                         SARAH S. VANCE
                  UNITED STATES DISTRICT JUDGE




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